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AO 2458   (Rev. 09111) Judgment in a Criminal Case
           Sheet 1



                                          UNITED STATES DISTRICT COURT
                                   District Of South Dakota,                  Western Division
                                                        )
              UNITED STATES OF AMERICA                  )                      JUDGMENT IN A CRIMINAL CASE
                          v.                            )
                                                        )
                      Miguel Soto                       )                      Case Number:           5: 12CR50131-8
                                                        )                      USMNumber:             12310-273
                                                        )
                                                        )                      Dana Hanna

THE DEFENDANT:
                                                                               Defendant's Attorney
                                                                                                               FILED
•   pleaded guilty to count(s)       I of the Superseding Infonnation                                           APR 28 2014
o   pleaded nolo contendere to count(s)
    which was accepted by the Court.                                                                           ~~
o   was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                    Offense Ended

8 U.S.C. § 1324a(a)(2)            Continuing in the Unlawful Employment of Aliens                      05/3112013                    Is




       The defendant is sentenced as provided in this Judgment. The sentence is imposed pursuant to the statutory and constitutional
authority vested in this Court.

o   The defendant has been found not guilty on count(s)

•   Counts    All counts of the 2nd Superseding Indictment as they relate to the defendant are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                        04/2512014




                                                                        Karen E. Schreier, United States District Judge
                                                                        Name and Title ofJudge
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                                                                                                                              Judgment - Page 2 of 3

AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Sheet 4--Criminal Monetary Penalties


  DEFENDANT:                          Miguel Soto
  CASE NUMBER:                        5:12CR50131-8

                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 5.

                         Assessment                   Fine                                       Restitution
  TOTALS                 $10                          $2,500                                     NA


  o       The determination of restitution is deferred until
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.


  o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
  o       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
          victims must be paid before the United States is paid.


  Name of Payee                                                         Total Loss*          Restitution Ordered            Priority or Percentage




                                                              TOTALS

  o        Restitution amount ordered pursuant to Plea Agreement $           NA
                                                                            -------------------
  o        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

  •        The Court determined that the defendant does not have the ability to pay interest and it is ordered that:


           •     the interest requirement is waived for the    •     fine         o   restitution.

           o     the interest requirement for the              0     fine         o   restitution is modified as follows:

  * Findings for the total amount of losses are required under Chapters l09A, 110, llOA, and 113A of Title 18 for offenses committed on or
  after September 13,1994, but before April 23, 1996.
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                                                                                                                                     Judgment - Page 3 of 3

A0245B     (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Schedule of Payments


DEFENDANT:                           Miguel Soto
CASE NUMBER:                         5: 12CR50131-8


                                                           SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    •       Lump sum payment of $           10 VAF                due immediately, balance due
                                                        ---


            o       not later than                                      , or


            •       in accordance with        •       C,    0      D,      o     E, or        0   F below; or


B    0       Payment to begin immediately (may be combined with                   o      C,       o   D,or       o    F below); or

c    •       Payment in equal          monthly         (e.g., weekly, monthly, quarterly) installments of $     100              over a period of
                             (e.g., months or years), to commence         30 days     (e.g., 30 or 60 days) after the date of this Judgment; or
           -----

D    0       Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                      over a period of
            _ _---.,,--_ (e.g., months or years), to commence _ _~ ___ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

             Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of the
E
             deposits in the defendant's inmate trust account while the defendant is in custody, or 10% of the defendant's inmate trust account
             while serving custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to the
             defendant's release from custody shall be due in monthly installments of $       , such payments to begin        days following the
             defendant's release.


 F   0       Special instructions regarding the payment of criminal monetary penalties:
             Pursuant to Government's motion under 18 U.S.c. § 3573, the Court orders the special assessment be remitted.



Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o        Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.

D        The defendant shall pay the cost of prosecution.

D        The defendant shall pay the following court cost(s):

•     The defendant shall forfeit the defendant's interest in the following property to the United States:
$3,087 in U.S. currency seized from First Interstate Bank account # ending in 9978.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
